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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 DEREK M. WILLIAMS,

          Plaintiff,                                                     ORDER
    v.
                                                                 Case No. 20-cv-977-jdp
 SCOTT ECKSTEIN, et al

          Defendants.


         Plaintiff Derek M. Williams has submitted a certified inmate trust fund account

statement for the six month period preceding the complaint in support of the pending motion

to proceed without prepayment of the filing fee.        Accordingly, the court must determine

whether plaintiff qualifies for indigent status and, if so, calculate an initial partial payment of

the $350.00 fee for filing this case.

         Even when an inmate litigant qualifies for indigent status, the litigant must pay a

portion of the fee returned by the formula set forth in 28 U.S.C. § 1915(b)(1).             Using

information for the relevant time period from plaintiff’s trust fund account statement, I

calculate plaintiff’s initial partial filing fee to be $315.03. For this case to proceed, plaintiff

must submit this amount on or before November 17, 2020.

         If plaintiff does not have enough money to make the initial partial payment from

plaintiff’s regular account, plaintiff should arrange with prison authorities to pay the remainder

from plaintiff’s release account.
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                                             ORDER

       IT IS ORDERED that,

       1.      Plaintiff Derek M. Williams is assessed $315.03 as an initial partial payment of

the $350.00 fee for filing this case. Plaintiff is to submit a check or money order made payable

to the clerk of court in the amount of $315.03 or advise the court in writing why plaintiff is

not able to submit the assessed amount on or before November 17, 2020.

       2.      If, by November 17, 2020, plaintiff fails to make the initial partial payment or

show cause for failure to do so, plaintiff will be held to have withdrawn this action voluntarily

and the case will be closed without prejudice to plaintiff filing this case at a later date.

       3.      No further action will be taken in this case until the clerk’s office receives

plaintiff’s initial partial filing fee as directed above and the court has screened the complaint

as required by the Prison Litigation Reform Act, 28 U.S.C. § 1915A. Once the screening

process is complete, a separate order will issue.




               Entered this 27th day of October, 2020.

                                      BY THE COURT:


                                      /s/
                                      PETER OPPENEER
                                      Magistrate Judge




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